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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                       CASE № 95-481-CR-ALTONAGA


   UNITED STATES OF AMERICA,
                   Plaintiff,
   vs.
   LUIS H. CANO,
               Defendant.
   ______________________________/

                                LUIS CANO’S MOTION FOR RECONSIDERATION

           The Defendant, LUIS CANO, by and through the undersigned counsel, files this Motion for

   Reconsideration of the Court’s Order Denying of his pro se Motion for Compassionate Release

   (ECF № 939). As grounds therefore, MR. CANO, avers the following:

           As this Honorable Court correctly noted, “[t]he only grounds for granting

   a motion for reconsideration with regard to a judgment of the Court are newly-discovered

   evidence or manifest errors of law or fact.” See Farrell v. Flecha, 13-22457-CIV, 2013 WL

   12139327, at *1 (S.D. Fla. July 25, 2013) (citing Arthur v. King, 500 F.3d 1335, 1343 (11th Cir.

   2007). In MR. CANO’S case, as reflected in this Motion for Reconsideration, the Government’s

   Response contained several manifest errors in both law and fact, which were unfortunately relied

   upon by this Honorable Court in denying MR. CANO’S Motion for Compassionate Release. Due

   to the current COVID-19 restrictions at USP Terre Haute, MR. CANO did not have an opportunity

   to correct these manifest errors in the form of a Reply to the Government’s Response.1


           1
                   On September 22, 2020, MR. CANO filed a pro se Motion for Compassionate Release.
   Unfortunately, for reasons unknown to MR. CANO, not all the exhibits he mailed with his Motion for
   Compassionate Release, including a letter written by Dr. Austin Kutscher, in support of the fact that he is
   at an increased risk for serious illness or death should he contract COVID-19, were included in the filing.
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                                                             I.
                               EXTRAORDINARY AND COMPELLING REASONS2

           Contrary to the Government’s Response, courts throughout the country, including in this

   district, have overwhelmingly concluded that a district court can consider factors other than those

   explicitly listed in subsections (A)-(C) of the Sentencing Commissions’ policy statement when

   determining whether “extraordinary and compelling” reasons exist warranting compassionate

   release. United States v. Rodriguez, 451 F. Supp. 3d 392, 395-400 (E.D. Pa. 2020). Adopting the

   Government’s view would undermine the very purpose of the First Step Act and the critical 30-

   day lapse route it provided.3

           Therefore, this Court has discretion to assess whether MR. CANO presents “extraordinary

   and compelling reasons” for his release outside of those listed in the non-exclusive criteria of

   subsections (A)-(C) of the old policy statement. See United States v. Brown, 457 F. Supp. 3d 691,




   On October 2, 2020, the Government filed a Motion for Extension of Time to File a Response to MR.
   CANO’S pro se Motion for Compassionate Release, which this Court granted on the same day. On October
   13, 2020, the Government filed its response in opposition to MR. CANO’S pro se Motion for Compassionate
   Release. Due to COVID-19 restrictions at USP Terre Haute, the prison facility where MR. CANO is
   currently being housed, he did not receive the Government’s response in opposition to his Motion for
   Compassionate Release until October 20, 2020. On October 23, 2020, prior to his deadline to file a Reply
   to the Government’s Response in opposition to his Motion for Compassionate Release, MR. CANO
   submitted a Motion for Extension of time to file his Reply. Unfortunately, due to the same restrictions at
   USP Terre Haute, MR. CANO’S motion did not get filed until November 3, 2020, the day after this
   Honorable Court issued its Order denying his Motion for Compassionate Release.
            2
                    As this Honorable Court acknowledged in the Order at issue here (DE 952), MR. CANO
   has exhausted his administrative remedies by submitting his request to the warden of his facility and filing
   his pro se Motion for Reconsideration more than 30 days later.
            3
                    See Rodriguez, 451 F. Supp. 3d 392, 395-400 (E.D. Pa. 2020) (“Under the First Step Act,
   however, it is possible for inmates to file compassionate-release motions—under the 30-day lapse
   provision—when their warden never responds to their request for relief. Thus, Congress specifically
   envisioned situations where inmates could file direct motions in cases where nobody in the
   BOP ever decided whether the motion qualified for relief under the catchall provision that the Commission
   originally sought to apply to all motions. It would be a strange remedy indeed if Congress provided that
   prisoners whose wardens failed to respond in such a situation could only take advantage of the thirty-day
   lapse provision by accepting a pared-down standard of review that omitted the flexible catchall standard.)).

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   701 (S.D. Iowa 2020); Moody, 05-80121-CR-COHN, 2020 WL 4059659, at *3 (S.D. Fla. May 15,

   2020).

                                                             A.
                MR. CANO’S MEDICAL CONDITIONS, COVID-19 AND PRISON CONDITIONS

            Courts in this district have repeatedly held that if an inmate has a chronic medical condition

   that has been identified by the CDC as elevating an inmate’s risk of becoming seriously ill from

   COVID-19, that condition may constitute “extraordinary and compelling reasons.” 4 “[N]othing

   could be more extraordinary and compelling than this pandemic” for an inmate that suffers from a

   chronic medical condition which the CDC identifies as elevating a person’s risk of becoming



            4
                    See, e.g., United States v. Curington, 12-20115-CR, 2020 WL 4344083 (S.D. Fla. July 7,
   2020); United States v. Moody, 05-80121-CR, 2020 WL 4059766 (S.D. Fla. June 16, 2020); United States,
   v. Potts, 06-80070-CR, 2020 WL 5540126 (S.D. Fla. Sept. 14, 2020); United States v. McGhee, 12-60027-
   CR, 2020 WL 3884567 (S.D. Fla. May 18, 2020); United States v. Platten, 08-80148, 2020 WL 4333525
   (S.D. Fla. Apr. 17, 2020); United States v. Sanchez, 95-00421-CR, 2020 WL 3581631 (S.D. Fla. Apr. 27,
   2020); United States v. Chopra, 18-CR-20668, 2020 WL 4333507 (S.D. Fla. July 24, 2020); United States
   v. Blake, 15-CR-80018, 2020 WL 4677309 (S.D. Fla. Aug. 12, 2020); United States v. Feucht, 11-CR-
   60025, 2020 WL 2781600 (S.D. Fla. May 28, 2020); United States v. Lima, 16-20088-CR, 2020 WL
   4343836 (S.D. Fla. May 11, 2020); United States v. Minsal, 1:18-CR-20597-UU, 2020 WL 4516360 (S.D.
   Fla. Aug. 5, 2020); United States v. Minor, 18-CR-80152, 2020 WL 4333524 (S.D. Fla. Apr. 17, 2020);
   United States v. Schumack, 14-80081-CR, 2020 WL 4333526 (S.D. Fla. June 11, 2020); United States v.
   Gomez, CR 11-20698, 2020 WL 5518358 (S.D. Fla. Sept. 14, 2020); United States v. Israel, 95-00314-CR,
   2020 WL 4362258 (S.D. Fla. July 29, 2020); United States v. Huarte, CR 11-20587, 2020 WL 4429424
   (S.D. Fla. July 31, 2020); United States v. Laing, 18-20731-CR, 2020 WL 5032977 (S.D. Fla. Aug. 24,
   2020); United States v. Vazquez Torres, 19-CR-20342, 2020 WL 4019038 (S.D. Fla. July 14, 2020); United
   States v. Bailynson, CV 18-CR-80124, 2020 WL 5367320 (S.D. Fla. Sept. 8, 2020); United States v.
   Reynolds, 14-CR-80227, 2020 WL 4333504 (S.D. Fla. July 8, 2020); United States v. Barbuto, 18-CR-
   80122, 2020 WL 4333505 (S.D. Fla. Apr. 28, 2020); United States v. Brown, 14-CR-60161, 2020 WL
   5116781 (S.D. Fla. Aug. 31, 2020); United States v. Weems, 18-CR-60185-BB, 2020 WL 4558381 (S.D.
   Fla. Aug. 7, 2020); United States v. Lewis, 10-CR-60292, 2020 WL 4333489 (S.D. Fla. July 20, 2020);
   United States v. Siegert, 13-80009-CR, 2020 WL 4726929 (S.D. Fla. Aug. 13, 2020); United States v.
   Oreste, 14-20349-CR, 2020 WL 4343774 (S.D. Fla. Apr. 6, 2020); United States v. Rice, 90-CR-00768,
   2020 WL 4333527 (S.D. Fla. June 8, 2020); United States v. Arenales-Monroy, 16-CR-20374-KMW, 2020
   WL 4344085 (S.D. Fla. June 18, 2020); United States v. Firebaugh, 1:16-CR-20341-UU, 2020 WL
   4343835 (S.D. Fla. June 25, 2020); United States v. Woodson, 13-20180-CR, 2020 WL 4333488 (S.D. Fla.
   June 4, 2020); United States v. Pimental, 19-CR-20104, 2020 WL 5500840 (S.D. Fla. Sept. 11, 2020);
   United States v. Welch, 09-60212-CR, 2020 WL 4333667 (S.D. Fla. May 21, 2020); United States v.
   Woolley, 9:19-CR-80093, 2020 WL 4904210 (S.D. Fla. Aug. 20, 2020); United States v. Jaen, 91-00814-
   CR, 2020 WL 4209283 (S.D. Fla. July 6, 2020).
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   critically ill from COVID-19. See United States v. Rodriguez, No. 2:03-cr-271, Doc. # 135 at 2

   (E.D.P.A. Apr. 1, 2020).

           MR. CANO suffers from untreated severe stage hypertension. See United States v.

   Rodriguez, 451 F. Supp. 3d 392, 401–02 (E.D. Pa. 2020) (The fatality rate for people with

   hypertension was 8.4%.). The CDC defines Stage 1 Hypertension as a blood pressure at or above

   130/80 mm Hg and Stage 2 Hypertension (the most severe stage) as a blood pressure at or above

   140/90 mm Hg.5 Since March of this year, MR. CANO’S blood pressure readings have been as

   follows: September 2, 2020, right arm, 172/88, left arm, 169/78; July 24, 2020, 140/83; July 8,

   2020, 157/85; and March 6, 2020, 159/82. A copy of MR. CANO’S relevant BOP medical records

   is attached as Exhibit № 1.6 Due to MR. CANO’S alarmingly high blood pressure, he was ordered

   to submit to weekly blood pressure checks. However, COVID-19 restrictions at Terre Haute have

   prevented him from abiding by the doctor’s orders to submit to weekly blood pressure checks.

   Therefore, MR. CANO’S high blood pressure is currently untreated. The fact that MR. CANO is not

   receiving the proper care he needs, irrespective of COVID-19, is also extremely concerning.

   District courts across the nation, including courts in this district, have found that hypertension, a

   personal COVID-19 risk factor, in a high-risk prison atmosphere, constitutes “extraordinary and

   compelling reasons” warranting the grant of compassionate release. See Lewis, 2020 WL 4333489

   (S.D. Fla. July 20, 2020) (holding that the defendant’s high blood pressure, alone, a condition

   which the CDC states may increase the risk of severe illness from COVID-19, coupled with

   conditions within a correctional environment, constituted “extraordinary and compelling reasons”


           5
                   Ctrs. for Disease Control and Prevention, Facts About Hypertension,
   https://www.cdc.gov/bloodpressure/facts.htm (last visited Sept. 30, 2020).
            6
                   Exhibit № 1 only contains some of MR. CANO’S BOP medical records. However, should
   this Court deem it necessary, the undersigned is prepared to send the Government and this Court all of MR.
   CANO’S BOP medical records.
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   justifying compassionate release.).7 Finally, as his medical records reflect, MR. CANO has an

   extensive history of taking corticosteroids, which the CDC explicitly states makes individuals

   immunocompromised and therefore more susceptible to seriousness illness or death should they

   contract COVID-19.8 See Exhibit № 1.

           In determining whether “extraordinary and compelling reasons” exist courts do not

   consider a defendant’s medical condition in isolation, rather, courts evaluate a defendant’s medical

   record as a whole, including taking into account a defendant’s age. Blake, 15-CR-80018, 2020

   WL 4677309 (S.D. Fla. Aug. 12, 2020). MR. CANO is a 61-year-old former smoker with a body

   mass index (“BMI”) of 29.6. A copy of MR. CANO’S relevant BOP medical records is attached as

   Exhibit № 2. The CDC guidelines indicate that people of any age with a BMI of 30 or higher are

   at an increased risk of severe illness from COVID-19.                            United States v. Critchlow,

   215CR00006JMSCMM, 2020 WL 5544043, at *1 (S.D. Ind. Sept. 16, 2020). MR. CANO’S BMI




           7
                    See also United States of Am. v. Mines, 4:18-CR-00552, 2020 WL 4003048 (N.D. Ohio
   July 15, 2020) (holding that the defendant’s hypertension, in conjunction with the fact that FCI Coleman
   Low has had cases of COVID-19, presents extraordinary and compelling reasons that justify the grant of
   compassionate release); Salvagno, 5:02-CR-51 (LEK), 2020 WL 3410601 (N.D.N.Y. Apr. 23, 2020) (a
   hypertensive prisoner at increased risk from the virus, constituted extraordinary and compelling
   circumstances that warranted grant of compassionate release) (citing United States v. Bray, 19-20216-9,
   2020 WL 2494898, at *4 (E.D. Mich. May 14, 2020) (granting pre-trial release to 48-year-old hypertensive
   inmate otherwise “in good health,” noting that “new studies identify an increased risk of death from the
   virus for individuals with hypertension ... the Court considers these studies indicating that hypertension
   may be an emerging risk factor for the virus”) (citing news articles and recent CDC data); United States v.
   Gamble, No. 19-CR-348, Dkt. No. 59 at 8 (D.D.C. Apr. 13, 2020) (granting pre-trial release to a
   hypertensive inmate and noting that “the [WHO] classifies those with hypertension as having an increased
   risk for severe disease and death as a result of COVID-19, with a mortality rate of 8.4%”) (citing Report of
   the WHO-China Joint Mission on Coronavirus Disease 2019 (COVID-19), WHO, at 12); Smith v. Warden,
   Toledo Corr. Inst., No. 12-CV-425, 2020 WL 1815717, at *14 (S.D. Ohio Apr. 9, 2020) (noting that “the
   threat [of COVID-19] is particularly significant—indeed, critical—as to those individuals who suffer from
   preexisting conditions—including Petitioner, who has hypertension”) (citing New York State government
   data)).”
            8
                    Ctrs. for Disease Control and Prevention, If You Are Immunocompromised, Protect
   Yourself          From         COVID-19,           https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
   precautions/immunocompromised.html (last visited Nov. 16, 2020).
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   is just .4 kg/m2 away from this range. The CDC guidelines also indicate that people of any age

   who are former cigarette smokers may be at an increased risk of severe illness from COVID-19.

   Id. According to researchers at the University of California—San Francisco, a meta-analysis of

   studies that included 11,590 COVID-19 patients suggests that the risk of disease progression in

   those who currently or previously smoked cigarettes was nearly double that of non-smokers. Id.

   The fact that MR. CANO recently quit smoking does not decrease his level of risk because the

   guidelines indicate that former smokers may be at an increased risk of severe illness or death from

   COVID-19. Id.9

          In addition, due to MR. CANO’S age, he is at least three (3) times more likely to succumb

   to the virus than that of the 40-49 year old population. See United States v. Asher, 1:09-CR-414-

   MHC-AJB, 2020 WL 3424951, at *3 (N.D. Ga. June 15, 2020) (9.6% of fatalities were individuals

   in the 50-59 year old age group, more than any lower age groups and nearly three times that of the

   40-49 year old age group) (citation and quotations omitted). Nevertheless, MR. CANO suffers from

   underlying medical conditions, which increase his risk of severe illness or death should he contract

   COVID-19 regardless of age. See Critchlow, 215CR00006JMSCMM, 2020 WL 5544043, at *5

   (S.D. Ind. Sept. 16, 2020) (Because the defendant suffered from health conditions that the CDC

   guidelines identified as possibly increasing the risk of severe illness or death at any age, the

   Government’s argument that the defendant is young was unpersuasive to the court.).

          In addition to hypertension, being overweight (almost obese), and being a former smoker,

   MR. CANO suffers from obstructive sleep apnea (MR. CANO uses a CPAP machine to mitigate his



          9
                     See also United States v. Rich, 17-CR-094-LM, 2020 WL 2949365, at *3 (D.N.H. June 3,
   2020) (“The CDC acknowledges that smoking can render people ‘immunocompromised,’ putting them in
   the high-risk category. And a recent study shows that people who currently smoke or previously smoked
   cigarettes are at a substantially higher risk for complications from COVID-19 than non-smokers.”)).
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   sleep apnea); osteoarthritis; recurring sinus infections and allergies; neuropathy; prolonged use of

   steroids; and he has undergone three shoulder and hand surgeries. See Exhibit № 1. Although

   MR. CANO did undergo surgery to fix his deviated septum, he still suffers from impaired breathing

   due to congestion. See Exhibit № 1. Courts in this district, and nationwide, have granted

   compassionate release for individuals with like medical conditions.10 Thus, based on MR. CANO’S

   BOP medical records, unless the Government can prove that he has a crystal ball that alerted him

   to the fact that the United States would become victim to COVID-19 in March of 2020, his medical

   records completely refute its claim that he “continues to hoodwink the Court claiming in the

   present motion that he suffers from medical conditions that BOP medical records clearly show he

   does not.”

           In MR. CANO’S pro se Motion for Compassionate Release, he included a letter from Dr.

   Austin Kutscher, who after having reviewed MR. CANO’S medical records concluded that, he is at




           10
              See e.g., United States v. Rivera, 13-20775, 2020 WL 5105090, at *1 (E.D. Mich. Aug. 31, 2020)
   (compassionate release granted to 40 year old defendant who suffers from varicose veins of the lower
   extremities, obesity, hyperlipidemia, sleep apnea, hypertension, chronic embolism and thrombosis, and
   long term use of anticoagulants.); United States v. Readus, No. 16-20827-1, 2020 WL 2572280 (E.D. Mich.
   May 21, 2020) (granting compassionate release to defendant with severe obesity, obstructive sleep apnea,
   hypertension, and prediabetes); United States v. Delgado, No. 18-cr-17, 2020 WL 2464685, at *4, 2020
   U.S. Dist. LEXIS 84469, at *10–11 (D. Conn. Apr. 30, 2020) (granting compassionate release to inmate
   with obesity and sleep apnea “because those conditions place [inmates] at high risk for serious
   complications due to COVID-19); United States v. Scparta, No. 18-cr-578, 2020 WL 1910481, at *2, 2020
   U.S. Dist. LEXIS 68935, at *4–5 (S.D.N.Y. Apr. 20, 2020) (granting compassionate release to 55-year old
   inmate suffering from high blood pressure, high cholesterol, sleep apnea, and hypertension); United States
   v. O'Neil, No. 11-CR-00017, 2020 WL 2892236, 2020 U.S. Dist. LEXIS 96540 (S.D. Iowa June 2, 2020)
   (granting compassionate release to prisoner that suffered from asthma and used inhalers and a CPAP
   machine to assist with breathing where court was concerned “that Defendant's preexisting medical
   conditions create an untenable risk of death should Defendant contract a lethal, easily spread virus for which
   ‘there is no known cure, no effective treatment, and no vaccine.’ ”); Critchlow, 215CR00006JMSCMM,
   2020 WL 5544043, at *2 (S.D. Ind. Sept. 16, 2020) (Granting compassionate release to former smoker with
   obesity as his underlying health condition and holding that given “the events of the last six months and the
   projections of public health officials regarding the spread of COVID-19, the Government's suggestion that
   USP Terre Haute will escape the pandemic without a significant outbreak appears unreasonably
   optimistic.”)).
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   a greater risk than the general public from contracting COVID-19, and suffering from the

   consequences of COVID-19. A copy of this letter is attached as Exhibit № 3. Unfortunately, as

   explained supra, this Court did not receive the full letter from Dr. Kutscher. Recently, Dr.

   Kutscher sent an addendum to his previous letter wherein he highlighted the fact that despite

   undergoing surgery to fix his deviated septum, MR. CANO still suffers from sinus problems.

   Moreover, Dr. Kutscher also highlighted the increase risk of serious illness or death for individuals,

   like MR. CANO, who suffer from hypertension. Specifically, Dr. Kutscher wrote:

                   Arterial hypertension is clearly a risk for worst outcome if a patient
                   develops COVID infection. Hypertension increases a patient’s risk
                   of stroke and also of bleeding in to the bran – both of which have
                   been shown to be significant causes of morbidity and MORTALITY
                   in patients who develop COVID.

   A copy of Dr. Kutcher’s addendum is attached as Exhibit № 4.

           Sadly, for MR. CANO, the risk of contracting COVID-19 and becoming critically ill due to

   the spread of the virus within his prison is not a hypothetical one. See Riccardi, 02-20060-JWL,

   2020 WL 4260636, at *3 (D. Kan. July 24, 2020). MR. CANO is presently housed at USP Terre

   Haute. As the Government previously admitted, despite BOP's significant efforts to try to manage

   the virus in its facilities, it reports that at Terre Haute, “six inmates and one staff member are

   positive, two inmates and no staff members have died, and 81 inmates and two staff members have

   recovered.”11 Vigo County, where Terre Haute is located, is currently flagged by the Indiana

   Department of Health as a COVID-19 hotspot. Id.


           11
                      See Critchlow, 215CR00006JMSCMM, 2020 WL 5544043, at *2 (S.D. Ind. Sept. 16,
   2020) (“SP Terre Haute is currently experiencing an uptick in COVID-19 cases. When the Government
   filed its brief on August 17, 2020, just one inmate at USP Terre Haute had tested positive for the virus. Dkt.
   50, p. 1. By the time Mr. Critchlow filed his reply on August 16, 2020, that number had increased to 14.
   Dkt. 51, p. 4. As of September 16, 2020, 21 inmates at USP Terre Haute are currently positive for COVID-
   19 and 63 have recovered from the virus, and 21 inmates at adjacent FCI Terre Haute are currently positive
   and 66 have recovered.”).
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           Furthermore, the Government's assurances that the BOP's “extraordinary actions” can

   protect inmates ring hollow given that these measures have already failed to prevent transmission

   of the disease at the facility where MR. CANO is housed. The Government also cannot credibly

   argue that, “Cano makes sweeping assertions devoid of substance and filled with contempt for

   prison officials and their action at Terre Haute, alleging that the prison cannot provide adequate

   medical protection from COVID-19 for its inmates and staff . . . .” when the Government has

   basically conceded to MR. CANO’S exact argument in its Response to another Motion for

   Compassionate Release. A copy of the relevant Motion for Compassionate Release and the

   Government’s Response is attached as Exhibit № 5. See United States v. Randall, 17-CR-60178,

   2020 WL 6392845, at *5 (S.D. Fla. Nov. 2, 2020) (“Defendant points out that the Government has

   previously conceded that type 2 diabetes “would qualify as an ‘extraordinary and compelling

   reason’. . . . As such, the Government cannot credibly argue that this Defendant's health conditions

   fail to constitute extraordinary and compelling circumstances. The Court will therefore hold the

   Government to its concession.”).

           Because MR. CANO is at a greater risk for medical complications if he contracts the virus

   due to his health status, MR. CANO’S health and life are in serious dangerous if he continues to

   serve his sentence at USP Terre Haute. Therefore, MR. CANO’S health status in conjunction with

   the significant outbreak at Terre Haute, present extraordinary and compelling reasons that justify

   the grant of compassionate release.12


           12
                    See Riccardi, 02-20060-JWL, 2020 WL 4260636, at *3 (D. Kan. July 24, 2020) (“The
   combination of defendant’s age, his underlying health conditions, which increase his risk of serious harm
   from the virus, and the recent outbreak at the facility, where it appears that measures to contain the virus
   have been ineffective, provides an extraordinary and compelling reason for relief in this case.”); United
   States v. Vega, 1:16-CR-00319, 2020 WL 4784797, at *1 (N.D. Ohio Aug. 18, 2020) (“Vega's medical
   conditions, in conjunction with the presence of COVID-19 at FCI Coleman Low, are extraordinary and
   compelling reasons that justify his compassionate release.”).
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                                             B.
                     UNWARRANTED SENTENCE DISPARITIES AND CHANGES IN LAW

           Contrary to the Government’s assertion in its Response, district courts around the country

   have recognized that defendants are entitled to relief under the First Step Act for “extraordinary

   and compelling reasons” including sentencing disparities.13 This is especially true in MR. CANO’S

   case where there are two serious issues with his judgment, that could have dramatically reduced

   his sentence, and where none of his co-defendants received the sentence he received, to wit: life

   imprisonment.

           Once again, the Government uses alternative facts when it asserts that, “Cano’s criminal

   activity at the head of his organization easily satisfied, as his jury found, every predicate needed

   to invoke the mandatory life imprisonment section of the CCE statute.” The jury could not have

   found that MR. CANO satisfied every predicate needed to invoke the mandatory life imprisonment


           13
                     See Hope, 90-CR-06108-KMW-2, 2020 WL 2477523, at *2 (S.D. Fla. Apr. 10, 2020)
   (“Other courts have found that sentencing disparities like that presented in Mr. Hope’s case, coupled with
   a demonstration of profound rehabilitation, constitutes ‘extraordinary and compelling’ circumstances
   sufficient to warrant a sentence reduction.) (citing United States v. Eric Millan, No. 91-CR-685 (LAP),
   2020 WL 1674058, at *8 (S.D.N.Y. Apr. 6, 2020) (“Mr. Millan’s extraordinary rehabilitation, together with
   his remorse and contrition, his conduct as model prisoner and man of extraordinary character, his leadership
   in the religious community at FCI Fairton, his dedication to work with at-risk youth and suicide prevention,
   and the support of BOP staff at FCI Fairton, including their opinion that if released, Mr. Millan would be a
   productive member of society and no danger to others, and the sentencing disparity that would result from
   further incarceration all constitute extraordinary and compelling reasons justifying a reduction in
   sentence.”); Maumau, 2020 WL 806121, at *7 (“[T]he court concludes that a combination of factors—Mr.
   Maumau’s young age at the time of the sentence, the incredible length of the mandatory sentence imposed,
   and the fact that, if sentenced today, he would not be subject to such a long term of imprisonment—establish
   an extraordinary and compelling reason to reduce Mr. Maumau’s sentence.”); United States v. Decator, No.
   CR CCB-95-0202, 2020 WL 1676219, at *3 (D. Md. Apr. 6, 2020) (reducing defendant’s sentence to time
   served under the First Step Act based on, among other things, the fact that “if Decator were sentenced today,
   his three § 924(c) convictions would result in a consecutive sentence of 15 rather than 45 years.”); United
   States v. Urkevich, 2019 WL 6037391 at *4 (D. Neb. Nov. 14, 2019) (finding that a reduction of defendant’s
   sentence under the First Step Act was warranted because of “extraordinary and compelling reasons,
   specifically the injustice of facing a term of incarceration forty years longer than Congress now deems
   warranted for the crimes committed”); United States v. Mondaca, No. 89-CR-0655-DMS, 2020 WL
   1029024, at *5 (S.D. Cal. Mar. 3, 2020) (reducing the defendant’s sentence to time served under the First
   Step Act because, among other things, “Defendant has been in custody for over 365 months, more than
   twice the term he would likely receive under current law”).
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   because he was not specifically charged with 21 U.S.C. § 848(b) – as being the “principal” or

   “one of several principal” administrators, organizers or leaders – as is required to trigger the

   mandatory life imprisonment sentence. Instead the Government charged MR. CANO with 21

   U.S.C. § 848(a) and (c) – which does not require a sentence of mandatory life. The relevant charge

   in the indictment reads as follows,

                  From in or about June, 1987, to on or about October 1, 1996, at
                  Miami, Dade County, in the Southern District of Florida, and
                  elsewhere, the defendant, Luis H. Cano, a/k/a “Gallo”, did
                  knowingly and intentionally engage in a continuing criminal
                  enterprise in that he did violate Title 21 U.S.C. section 846 and
                  841(a)(1), as alleged in counts 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12 and 13
                  of this indictment, which counts were incorporated herein by
                  reference, which violations were part of a continuing series of
                  violations of said statutes undertaken by the defendant Luis H. Cano,
                  a/k/a “Gallo,” in concert with at least five other persons, with respect
                  to whom the defendant Luis H. Cano occupied a position of
                  organizer, supervisor and manager and from which continuing
                  serious of violations the defendant Luis H. Cano, a/k/a/ “Gallo,”
                  obtained substantial income and resources in violation of Untied
                  States Code Title 21 Section 848.

   At trial, the jury instructions as to this count were substantially the same. A copy of the jury charge

   transcript is attached hereto and incorporated by reference herein as Exhibit № 6. The language

   contained in MR. CANO’S indictment and the jury charge is the exact language of 848 (c), which

   defines the elements of a “continuing criminal enterprise”, for the purpose of triggering 848(a):

                  For purposes of subsection (a), a person is engaged in a continuing
                  criminal enterprise if—
                  (1) he violates any provision of this subchapter or subchapter II the
                      punishment for which is a felony, and
                  (2) such violation is a part of a continuing series of violations of this
                      subchapter or subchapter II—
                      A) which are undertaken by such person in concert with five
                  or more other persons with respect to whom such person occupies
                  a position of organizer, a supervisory position, or any other
                  position of management, and
                      (B) from which such person obtains substantial income or
                  resources.
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   21 U.S.C.A. § 848 (emphasis added). 21 U.S.C. § 848(c), does not carry a mandatory life sentence,

   instead it carries a minimum mandatory sentence of twenty (20) years for a first time offender. 21

   U.S.C. § 848(b), the section of the statute that does carry a mandatory life sentence, reads as

   follows:

                  (b) Life imprisonment for engaging in continuing criminal
                  enterprise
                  Any person who engages in a continuing criminal enterprise shall
                  be imprisoned for life and fined in accordance with subsection (a),
                  if--
                  (1) such person is the principal administrator, organizer, or leader
                  of the enterprise or is one of several such principal administrators,
                  organizers, or leaders; and
                  (2)(A) the violation referred to in subsection (c)(1) involved at least
                  300 times the quantity of a substance described in subsection
                  841(b)(1)(B) of this title, or
                  (B) the enterprise, or any other enterprise in which the defendant
                  was the principal or one of several principal administrators,
                  organizers, or leaders, received $10 million dollars in gross
                  receipts during any twelve-month period of its existence for the
                  manufacture, importation, or distribution of a substance described
                  in section 841(b)(1)(B) of this title.

   21 U.S.C. § 848 (emphasis added).

          At the time of MR. CANO’S trial and sentencing hearing, pursuant to the Supreme Court

   decision in McMillan v. Pennsylvania, 477 U.S. 79 (1986), Section 848(b) was viewed by some

   circuits as a sentencing enhancement, rather than a separate offense. See United States v. Smith,

   223 F.3d 554, 566 (7th Cir. 2000); United States v. Tidwell, 521 F.3d 236 (3d Cir. 2008). However,

   the Supreme Court in, Alleyne v. United States, 570 U.S. 99 (2013), and United States v. Haymond,

   139 S.Ct. 2369 (2019), made it clear that any increase in a defendant’s authorized punishment

   contingent on the finding of a fact requires a jury and proof beyond a reasonable doubt no matter

   what the government chooses to call the exercise. United States v. Haymond, 139 S.Ct. 2369, 2379

   (2019) (Because the Constitution's guarantees cannot mean less today than they did the day they
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   were adopted, it remains the case today that a jury must find beyond a reasonable doubt every fact

   “ ‘which the law makes essential to [a] punishment’ ” that a judge might later seek to impose.”).

           Therefore, had MR. CANO been sentenced today, in order for the district court to impose a

   mandatory life sentence, as it did here, MR. CANO would have had to have been indicted for

   Section 848(b) specifically, and the jury would have had to have found beyond a reasonable doubt

   that he was a “principal” or “one of several such principals”, and the drug quantity amount or the

   amount of money in gross receipts specified in 848(b).14 In United States v. Smith, the court

   highlighted the significant prejudices to the defendant in viewing this section of the statute as a

   sentencing enhancement versus a separate offense.

                   We agree entirely with Justice Thomas's observation that the
                   predicted sentence would often be lower, if the judge knew she
                   could select a sentence below life. Indeed, we have often remanded
                   cases for resentencing if a district court makes an error in calculating
                   either offense level or criminal history under the Sentencing
                   Guidelines, and (for example) that error has the effect of moving the
                   defendant from level 43 (mandatory life) to level 42 at any criminal
                   history category (360 months to life). See United States v.
                   Patterson, 215 F.3d 776, 786 (7th Cir.2000); United States v.
                   Guyton, 36 F.3d 655, 661 (7th Cir.1994). The defendant is entitled
                   in those cases to a chance to persuade the judge to select something
                   less than life, even though the risk of a new life sentence remains.
                   Nevertheless, the Court has reiterated several times that it has not
                   overruled McMillan, and it seems to us that the rationale
                   of McMillan applies with equal force to § 848: “[The statute]
                   operates to divest the judge of discretion to impose any sentence of
                   less than [life] for the underlying felony; it does not authorize a
                   sentence in excess of that otherwise allowed for that offense.” See
                   477 U.S. at 81–82, 106 S.Ct. 2411. We therefore reject the Governor
                   defendants' argument that the indictment should have charged that
                   they satisfied the criteria of § 848(b) and that the jury should have
                   found those facts beyond a reasonable doubt, and we move on to the
                   other common issues.



           14
                   This issue was partially addressed by the district court at MR. CANO’S sentencing hearing.
   A copy of the sentencing transcript is attached hereto and incorporated by reference herein as Exhibit № 7.
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   Smith, 223 F.3d 554, 565–66 (7th Cir. 2000).

           In this case, there does exist evidence that MR. CANO was not the “principal” – it was

   Ruben Carillo-Rosales. See Supplement to Defendant Luis Cano’s Motion to Dismiss Indictment

   (DE 366) (citing to Ruben Carillo-Rosales PSR) (“24. The excerpt reads: 24. The government

   provided the following role assessment: 25. Ruben Carillo-Rosales is the lead defendant in this

   case. He has been identified as the owner of the cocaine and the one in charge of securing Attorney

   Burnbaum to obtain the information concerning the location of the 145 kilograms of cocaine. He

   was the one directing Cuartas, Marcial, Burnbaum, Tanian Mohler and her parents.).

           Furthermore, the Government’s theory before the district court in which it stated that it was

   pursuing at least some of the substantive counts against MR. CANO under the aiding and abetting

   statute also provides support that he was not the principal. A copy of the transcript wherein the

   Government states that it is pursuing the case against MR. CANO under the aiding and abetting

   statute is attached hereto and incorporated by reference herein as Exhibit № 8. Lastly, nowhere in

   MR. CANO’S PSI does the word principal appear. Therefore, there is evidence that the jury could

   have determined that MR. CANO was not a principal or one of several principles and therefore did

   not qualify for mandatory life imprisonment, which would have allowed MR. CANO to persuade

   the district court to sentence him less than life.

           Moreover, MR. CANO’S concurrent sentence of life imprisonment for the continuing

   criminal enterprise (CCE) charge and the conspiracy charge constitutes double jeopardy. The law

   is clear that conspiracy is a lesser included offense of CCE. United States v. Atencio, 435 F.3d

   1222, 1235 (10th Cir. 2006) (“As the government concedes on appeal, the conspiracy charge

   against the Atencios is a lesser included offense of the continuing criminal enterprise.”) (citing

   Rutledge v. United States, 517 U.S. 292 (1996)). This coupled with the change in law regarding

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   the continuing criminal enterprise statue and the mandatory nature of the sentencing guidelines

   pursuant to United States v. Booker, 543 U.S. 220 (2005), and its progeny, could have led to a less

   than life term of imprisonment sentence for MR. CANO.

          District courts have also looked at sentence disparities in determining whether

   “extraordinary and compelling” reasons exist warranting a defendant’s compassionate release.

   Ironically enough, the individual the Government includes in its Response at footnote 9 (in alleged

   support of MR. CANO’S life sentence even though this incident was unrelated to MR. CANO),

   Jorge Hernandez, who attempted to secure a “hit” on the DEA case agent, was not sentenced to

   life imprisonment. Therefore, although the Government has no evidence that MR. CANO

   exhibited violence during the acts that make up the instance offense (if the government had such

   evidence it would not hesitate to include them in its Response as it did an act of violence committed

   by a co-defendant but unrelated to Mr. Cano) he was sentenced to life imprisonment.15

          Although courts are sensitive to the fact that retroactivity for sentencing calculations

   generally is the Legislature's province, Brown, 457 F. Supp. 3d 691, 702–03 (S.D. Iowa 2020),

   “Congress already has shown how factors that are not sufficient to establish an ‘extraordinary and

   compelling reason’ alone can still be considered with other factors.” Id. In the case at hand, MR.

   CANO, a non-violent offender, received a greater sentence than the heads of the Arellano-Felix

   cartel, the Gulf and Zetas cartel, and many other notoriously violent kingpins. Furthermore, the




          15
                   See United States v. Brown, 457 F. Supp. 3d 691, 702 (S.D. Iowa 2020) (“Sentences given
   to many like Defendant “would be laughable if only there weren't real people on the receiving end of
   them.” United States v. Holloway, 68 F. Supp. 3d 310, 312 (E.D.N.Y. 2014). Defendant received a 510-
   month sentence—or 42.5 years—after pleading guilty to selling an admittedly large amount of
   methamphetamine in western Iowa during the early 2000s. ECF No. 125 ¶¶ 10–62. His codefendant, who
   ran his own drug operation, was released two years ago. ECF No. 217.”); United States v. Almontes, 3:05-
   CR-58 (SRU), 2020 WL 1812713, at *8–9 (D. Conn. Apr. 9, 2020).
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   following chart illustrates the sentence disparities with the co-defendants/co-conspirators in MR.

   CANO’S case:

                 Disparate Sentence of MR. CANO’S Co-defendants/Co-conspirators
  Ruben Carillo-Rosales (who the government      243 months imprisonment
  labeled the “leader”)
  Tania Mohler                                   10 months imprisonment
  Gustavo Osorno
  David K. Mohler                                87 months imprisonment
  Patricia Wells                                 72 months imprisonment
  Jorge Enrique Hernandez                        227 months imprisonment
  David Matos                                    235 months imprisonment
  Michael Burnbaum                               105 months imprisonment
  Wilfredo Schery                                188 months imprisonment
  Leo Perdomo                                    48 months imprisonment
  Maria Cano                                     3 years of probation


           Notably, MR. CANO has already served over four (4) years more than the next longest

   sentence in his case.

                                                C.
                              MR. CANO’S EXTRAORDINARY REHABILITATION

           Courts have found that an inmate’s rehabilitation while incarcerated, in conjunction with

   other factors, can constitute “extraordinary and compelling” circumstances sufficient to warrant a

   sentence reduction. See Hope, 90-CR-06108-KMW-2, 2020 WL 2477523, at *2 (S.D. Fla. Apr.

   10, 2020); Stephenson, 3:05-CR-00511, 2020 WL 2566760 at 2 (S.D. Iowa May 21, 2020).16

           Here, MR. CANO provides ample evidence that he is no longer the same immature and


           16
                     See also Ledezma-Rodriguez, 3:00-CR-00071, 2020 WL 3971517, at *5–6 (S.D. Iowa July
   14, 2020) (“Rehabilitation of the defendant alone shall not be considered” sufficiently extraordinary and
   compelling to justify compassionate release. § 994(t) (emphasis added). Yet a “statute should be construed
   so that effect is given to all its provisions. . . . This means that for the word “alone” to do any work—as it
   must—the statute allows courts to consider rehabilitation as part of a compassionate release motion. Thus,
   several courts, including this one, have found a defendant's rehabilitation to be part of the extraordinary and
   compelling reasons favoring release.”);United States v. Stephenson, 3:05-CR-00511, 2020 WL 2566760, at
   *3 (S.D. Iowa May 21, 2020) (“Courts have found that the unprecedented risks of COVID-19 and
   rehabilitation each constitute extraordinary and compelling reasons to grant compassionate release.”).
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   irresponsible person whom this Court incarcerated over two decades ago. See United States v.

   Millan, 91-CR-685 (LAP), 2020 WL 1674058, at *9 (S.D.N.Y. Apr. 6, 2020). While incarcerated

   MR. CANO has availed himself of countless hours of educational courses. A copy of MR. CANO’S

   BOP Individualized Needs Plan – Program Review is attached as Exhibit № 9. In the 24 years he

   has been imprisoned, MR. CANO has only incurred a single minor disciplinary infraction for

   possessing too many postal stamps, no small feat in a closely monitored federal prison. See Millan,

   91-CR-685 (LAP), 2020 WL 1674058, at *9 (S.D.N.Y. Apr. 6, 2020). His DOJ's risk needs and

   assessment for prisoners, developed in accordance with the First Step Act (PATTERN score),

   places him in the “minimum” category, the lowest category possible. MR. CANO has also taken

   significant steps to reform and better himself so that he may be a more productive individual upon

   his release. More notably, the record suggests that MR. CANO has persevered despite his life

   without parole sentence.        For example, he has worked for decades and forged meaningful

   relationships with other inmates and staff alike, taking younger inmates under his wing and helping

   them stay out of trouble, while also fostering relationships with his family members. The multiple

   letters submitted by BOP staff members on his behalf (a rarity) is further evidence of MR. CANO’S

   extraordinary rehabilitation. The Correction Officers and other BOP staff describe MR. CANO as

   follows:

                  In 2016, Mr. Cano took over the title of Crossover Orderly which
                  is only entrusted to individuals who had proven to maintain good
                  morals and integrity. The crossover area is where United
                  Management officers are located (Counselors, Case Managers,
                  Secretaries, and United Managers).

                  Mr. Cano performed all his duties placed upon him flawlessly
                  without having to be micromanaged or directed. He’s a self-
                  motivated individual with a phenomenal work ethic. Mr. Cano
                  aided me in maintaining accountability of the other unit orderlies
                  and tasks set upon them and ensured the united he resided in was
                  always held to the highest standards typically resulting in achieving
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                 the highest cleanliness rating through the Penitentiary.

                 Mr. Cano is not only respected by staff, but holds a high respect
                 among the inmate population as well. He selflessly aids new
                 inmates upon their arrival and ensures that they receive the proper
                 supplies necessary for everyday living as well as directs them of
                 everyday operations. This is not expected of him, but has been
                 noticed by me other the years numerous times.

      -   (emphasis added); T. Carmichael, Correction Counselor at FCC Terre Haute, assigned to
          Mr. Cano’s Caseload from February 2014 through December 2018.

                 Mr. Cano is a capable, dedicated and personable individual. He
                 is always eager to help staff as well as other inmates. He is very
                 well respected among the inmate population here at FCC Terre
                 Haute.

                 I highly recommend Mr. Cano be given the opportunity as a
                 second chance to join release. His positive attitude and work ethic
                 is a model for other inmates to emulate.

                 I hope when making the decision for clemency, this helps factor in
                 his immediate release. I honestly believe that Mr. Cano is a
                 deserving of this opportunity and is ready to rejoin society. He is
                 very self-motivated and driven.

      -   (emphasis added); E. Booe, Unit Secretary at FCC Terre Haute.

                 I highly recommend Mr. Cano be given the opportunity as a
                 second chance to rejoin society. His work ethic and people skills is
                 a model for other inmates to emulate.

                 I believe that Mr. Cano is deserving of this opportunity and ready
                 to rejoin society.

      -   (emphasis added); R. Weyrauch, Correctional Counselor at FCC Terre Haute.

                 Luis Cano has been a model inmate since his arrival at USP Terre
                 Haute, Indiana on July 29, 2013.

      -   (emphasis added); Case Manager Springer at FCC Terre Haute.

                 His work ethic and interpersonal skills are exceptional along with
                 his professionalism and attention to detail. His ability to
                 communicate with staff and other inmates in a positive manner
                 allows staff to intercede and sole issues among other inmates and
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                 between staff and inmates in a positive manner before they
                 escalate. Luis Cano has been a model prisoner since arriving at
                 USP Terre, In In July of 2013. He has only had one minor
                 disciplinary infraction during his entire incarceration, which is 11
                 years old.


      -   (emphasis added); Case Manager T. Howald at FCC Terre Haute.

                 I have had inmate Cano assigned to inmate Cano assigned to my
                 caseload, since 2013-PRESENT, and have had daily interactions
                 with him, as he is assigned to our cross-over orderly detail. It is my
                 personal understanding that Mr. Cano was placed this detail in
                 2016, a job that is only entrusted to individuals who have proven
                 to maintain good morals and integrity, as the cross-over area is the
                 area where Unit Management officers are located [i.e. Counselors,
                 Case Managers, Secretaries, & Unit Managers], and requires the
                 overall sanitation and maintenance of staff equipment, restrooms
                 and general areas where staff personal items are stored. The job in
                 of itself is one the most prestigious jobs within the institution, due
                 to him working within close proximity where “sensitive
                 information” and staff personal items are generally stored. It is
                 my personal observation and understanding, that Mr. Cano has
                 performed all the required duties, placed upon him ….flawlessly
                 ….without having to be micro-managed or directly supervised!
                 Mr. Cano has also aided me and our staff to maintain
                 accountability of other unit orderlies and tasks set upon them,
                 while ensuring the unit he resides in is always held to the highest
                 standards typically resulting in receiving the highest rating for
                 cleanliness throughout the institution. Moreover, Mr. Cano is not
                 only highly respected by staff, for his work ethic and integrity, but
                 also holds a high level of respect amongst his fellow peers and
                 inmates. He consistently and selflessly aids new inmates, upon
                 their initial arrival and ensures they receive adequate guidance,
                 proper supplies necessary for everyday living, and orients them as
                 to the everyday operations. Although this is not expected of him,
                 it is something that is easily noticed by staff using his daily
                 interaction with other inmates over the years. In sum, Mr. Cano
                 has maintained exemplary and exceptionally clear conduct over
                 the 24 years his continued incarceration, and deserved an
                 opportunity at a chance at life and to redeem himself. Personally,
                 I believe that the 24 years he has served, is more than is required
                 for a non-violent drug offense, and should serve as a deterrence to
                 anyone in the future. As a first time non-violent drug offender,
                 Mr. Cano has paid dearly for any/all mistake he may have mad in
                 the past.
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      -   (emphasis added); R. Orr Counselor at FCC Terre Haute.

                  In my opinion, if given the chance, Mr. Cano will be a contributing
                  member of society. I have watched many inmates release and
                  come back to be incarcerated. I believe that Mr. Cano’s record
                  while being incarcerated should be looked at to help make a
                  decision and the reviewing people will see a man that has paid his
                  price in full.

      -   (emphasis added); David Redman Unit Secretary at USP Terre Haute.

                  In essence, I believe Mr. Cano is worthy and ready to be that same
                  productive, respectful, humble and model citizen of society if
                  provided the chance for reentry via sentence commutation.

      -   (emphasis added); David Redman Unit Secretary at USP Terre Haute.

   We respectfully submit that the extraordinary support for MR. CANO among BOP staff at Terre

   Haute and their opinions that if released he would be a productive member of society is a

   compelling factor in favor of release. See Millan, 91-CR-685 (LAP), 2020 WL 1674058, at *9

   (S.D.N.Y. Apr. 6, 2020) (“The Court finds the extraordinary support for Mr. Milian among BOP

   staff at FCI Fairton and their opinions that if released he would be a productive member of society

   to be a compelling factor in favor of release.”). A copy of the numerous BOP letters written in

   support of MR. CANO are attached as Exhibit № 10.

          Despite his life sentence, MR. CANO assumed a positive outlook and attitude towards life,

   sought to improve himself to the utmost extent possible and was motived to do so not withstanding

   his circumstances.      District Courts have found conduct similar to MR. CANO’S to be an

   extraordinary and compelling circumstance warranting the grant of compassionate release. See

   Millan, 91-CR-685 (LAP), 2020 WL 1674058, at *9 (S.D.N.Y. Apr. 6, 2020); United States v.

   Fisher, 1:83-CR-00150-PAC-1, 2020 WL 5992340, at *1 (S.D.N.Y. Oct. 9, 2020).



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                                              II.
                      DANGER TO THE COMMUNITY AND APPLICABLE 3553 FACTORS

          “Before granting a reduction in sentence under section 3582(c)(1)(A), the Sentencing

   Commission directs the court to consider whether a defendant poses ‘a danger to the safety of any

   other person or to the community.’” United States v. Potts, 06-80070-CR, 2020 WL 5540126, at

   *5 (S.D. Fla. Sept. 14, 2020). Furthermore, “[w]hen a defendant has shown that there are

   extraordinary and compelling reasons for release, and that he is not likely to pose a danger to the

   community, the Court may reduce his sentence to time served if doing so is consistent with the

   applicable factors in 18 U.S.C. § 3553(a).” Potts, 06-80070-CR, 2020 WL 5540126, at *6 (S.D.

   Fla. Sept. 14, 2020). The factors listed in 3142(g), i.e., dangerousness to the community, are

   largely duplicative of those in 3553(a).

          While the charges for which MR. CANO was convicted and sentenced are serious offenses

   that, in themselves, pose a danger to the community, this must be balanced against the significant

   time MR. CANO has already served, his rehabilitation, family support, and the danger imposed by

   remaining incarcerated. See Rivera, 13-20775, 2020 WL 5105090, at *4 (E.D. Mich. Aug. 31,

   2020). To date, MR. CANO, a non-violent first time offender, has served more than 24 years of

   the life sentence imposed following his conviction at trial. Over 24 years is a long time behind

   bars by any measure for anyone. Millan, 91-CR-685 (LAP), 2020 WL 1674058, (S.D.N.Y. Apr.

   6, 2020) (citing United States v. McGraw, 2019 WL 2059488, at *5 (S.D. Ind. May 9, 2019) (“Mr.

   McGraw has been in custody since September 2002 – nearly 17 years. That is a significant

   sanction”).

          In evaluating whether a defendant poses a danger to the community courts view a

   defendant’s recent good conduct as a more reliable indicator of his likelihood to recidivate. Id.

   (citing Pepper v. United States, 562 U.S. 476 (2011) (Defendant’s post-sentence rehabilitation
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   provides the “most up-to-date picture” of the defendant and is the best evidence available of the

   likelihood the defendant will or will not engage in future criminal conduct). In a letter to this Court

   his nephew, Luis Macias, wrote the following:

                  As a young child, my uncle was a second father to me. He was a
                  strong man who consistently challenged me to do better. . . .

                  My uncle’s top lesson, however, was that we are here to help others,
                  whether family or strangers. I grew up witnessing his good deeds
                  as he constantly helped our neighbors and friends. If a neighbor was
                  moving, my uncle would be the first person there with a dolly. I
                  give my uncle credit for the man I have become.

                  While my uncle has been in prison, I have maintained a good
                  relationship with him. I make it a point to visit him as often as I can.
                  While he cannot be at the office with me, he still serves as one of
                  my mentors. . . .

                  Because of my uncle’s life lessons I have dedicated my career to
                  making people lives better through technology.

   A copy of MR. CANO nephew’s letter is attached as Exhibit № 11.

          The Government, by contrast, has not spoken to MR. CANO nor his family members, and

   knows nothing about the person that MR. CANO is today. The Government’s only mechanism for

   assessing MR. CANO’S current dangerousness to the community is by reviewing the 24 year old

   case history for the instant cause. Its desperation to have this Court find him to be a danger to the

   community is clearly illustrated by its efforts to taint this Court with Jorge Hernandez’s attempted

   hit on a DEA agent, which is unrelated to MR. CANO.

          MR. CANO’S recent conduct in prison, coupled with the numerous letters from BOP and

   his nephew’s letter to this Court, are more indicative of the risk he currently poses to the safety of

   the community, and his more recent behavior weighs heavily in favor of his release. See Potts,

   06-80070-CR, 2020 WL 5540126, at *5 (S.D. Fla. Sept. 14, 2020); United States v. Perez, 88-

   10094-1-JTM, 2020 WL 1180719, at *3 (D. Kan. Mar. 11, 2020).
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           Furthermore, MR. CANO has a reentry plan that will allow him to abide by all terms of

   supervised release.       MR. CANO’S nephew partnered with attorney Jaime Lopez to form

   GrainChain, Inc. Both partners have indicated that should this Honorable Court grant MR. CANO’S

   Motion for Compassionate Release, MR. CANO would be employed by GrainChain. A copy of

   Mr. Lopez’ affidavit is attached as Exhibit № 12. Furthermore, as reflected in MR. CANO’s pro

   se motion, he would live with his nephew in McAllen, Texas.17 Furthermore, MR. CANO’S strong

   family ties, as highlighted by the Government, support his compassionate release.

           Finally, any concerns this Court may still have regarding MR. CANO’S possible recidivism

   upon his release can be addressed by adding additional strict conditions to his sentence of

   supervised release.18

           MR. CANO’S clean disciplinary record and extensive efforts at rehabilitation while

   incarcerated weigh in favor of his release and, as discussed, his age make recidivism unlikely.

   United States v. Rice, 83 CR. 150-3 (LGS), 2020 WL 4505813 (S.D.N.Y. Aug. 5, 2020). We

   respectfully agree with the BOP staffers that wrote on MR. CANO’S behalf, the over 24 years he

   has spent in prison are sufficient for purposes of specific and general deterrence, especially in light

   of the fact that MR. CANO is a non-violent first offender. Id. (citing United States v. Wong Chi

   Fai, No. 93 Cr. 1340, 2019 WL 3428504, at *4 (E.D.N.Y. July 30, 2019) (concluding,

   “notwithstanding the seriousness of [defendant's] criminal conduct,” that the sentence served


           17
                     The Government’s assertion that evidence at MR. CANO’S trial identified McAllen, the
   location where GrainChain is located, as one of the points of entry that MR. CANO used to import cocaine,
   in an effort to taint GrainChain, and MR. CANO’S employment opportunity is appalling and unwarranted.
   Neither Mr. Macias nor his partner have ever had any run-ins with the law. On the contrary, as indicated
   in Mr. Lopez’ affidavit, he is a respected lawyer that served as a law clerk.
            18
                     See Blake, 15-CR-80018, 2020 WL 4677309, at *5 (S.D. Fla. Aug. 12, 2020) (“While the
   Government emphasized Defendant attempted to meet underage children, release into home confinement
   with electronic monitoring will mitigate the risk.”); Brown, 14-CR-60161, 2020 WL 5116781, at *7 (S.D.
   Fla. Aug. 31, 2020).
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   (twenty-six years of a life sentence) appropriately “reflect[s] the seriousness of the offense,”

   “promote[s] respect for the law” and “provide[s] just punishment for the offense” (citing 18 U.S.C.

   § 3553(a)) (alterations in original)); see also U.S. Sentencing Comm., Length of Incarceration and

   Recidivism, https://www.ussc.gov/sites/default/files/pdf/research-and                      publications/research-

   publications/2020/20200429_Recidivism-SentLength.pdf(last visited August 4, 2020).

          Additionally, as illustrated by the above relevant chart, “the need to avoid unwarranted

   sentence disparities among defendants with similar records who have been found guilty of similar

   conduct,” § 3553(a)(6), also cuts in favor of release. Thus, the applicable § 3553(a) factors favor

   release.

                                                    CONCLUSION

          MR. CANO has demonstrated extraordinary and compelling circumstances that warrant a

   sentence reduction. While the Government has characterized MR. CANO’S abusive and litigious

   practice of filing numerous frivolous motions and/or petitions attacking his convictions, as a mark

   against his character, his prison record indicates that he has spent his three decades of incarceration

   engaged in positive educational and vocational programs, as well as outreach efforts with other

   prisoners. Hope, 90-CR-06108-KMW-2, 2020 WL 2477523, at *4 (S.D. Fla. Apr. 10, 2020).

   Finally, the fact that MR. CANO is serving a life sentence of imprisonment does not preclude his

   compassionate release.         Even before the COVID-19 pandemic, courts recognized that

   circumstances could warrant compassionate release even in the case of prisoners serving life

   sentences. United States v. Heffington, 1:93-CR-05021-NONE, 2020 WL 4476485, at *9 (E.D.

   Cal. Aug. 4, 2020). A chart summarizes several Motion for Compassionate Release cases that

   were granted to defendants who were convicted of a continuing criminal enterprise (some



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   with violence) and had been sentenced to life imprisonment is attached hereto and

   incorporated by reference herein as Exhibit № 13.

          WHEREFORE, the Defendant, LUIS CANO, respectfully requests that this Honorable Court

   grant the relief sought herein and Order MR. CANO released from prison, or in the alternative, Order

   that as a special condition of his supervised release he complete the rest of his sentence in home

   confinement.

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                                                                 Florida Bar № 273831
                                                                 /s/ Andrea C. Lopez
                                                                 ANDREA C. LOPEZ
                                                                 Florida Bar № 109512

                                            CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that on this 17th day of November 2020, a true and correct copy of the
   Luis Cano’s Motion for Reconsideration was furnished via the CM/ECF system to all parties
   designated to receive the electronic filings in this cause.
                                                                 /s/ Andrea C. Lopez
                                                                 ANDREA C. LOPEZ




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